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                              EXHIBIT 11
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 21-60125-CIV-SCOLA/SNOW

    JIANGMEN BENLIDA PRINTED
    CIRCUIT CO., LTD.,

    Plaintiff

    v.

    CIRCUITRONIX, LLC,

    Defendant
    ____________________________________/

                      DEFENDANT’S FIRST REQUEST FOR PRODUCTION

            Defendant, Circuitronix, LLC (“CTX”), pursuant to Federal Rule of Civil Procedure 34,

    requests that Plaintiff, Jiangmen Benlida Printed Circuit Co., Ltd. (“Benlida”), produce the

    following documents at the offices of undersigned counsel:

                                             I.
                                INSTRUCTIONS AND DEFINITIONS

            A.     The words "Document" or "Documents” are used in their broadest and most liberal

    sense, and shall include electronically stored information and any and all information in written,

    printed, electronic, magnetic, digital, or other tangible form, including, without limitation: all

    letters, correspondence, emails, contracts, agreements, and memoranda; all mechanical, magnetic,

    electronic, and digital recordings and all information so stored or transcripts of such recordings;

    all calendar and diary entries, notes or memoranda of conversations (telephonic or otherwise) and

    of meetings or conferences; all studies, reports, recommendations, quotations, opinions, offers,

    inquiries, bulletins, summaries, newsletters, compilations, and specifications; all maps, charts,

    blueprints, diagrams, graphs, photographs, pictures, film, videotapes, microfilm, and digital



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    images; all propositions, articles, announcements, newspaper clippings and excerpts (physical and

    digital); all books, books of accounts, ledgers, vouchers, cancelled checks, invoices, bills, receipts,

    and certificates; all writings of any kind; and all other tangible things upon which any handwriting,

    typing, printing, drawings, representation, photostatic or other copy or other graphic matter,

    magnetic or electrical impulses, or other form of analog or digital communication is recorded or

    produced, including audio and video recordings and all computer stored and computer back up

    information, whether or not in printout form, all rough and revised drafts (including all handwritten

    notes or other marks on same); and all drafts and copies of documents as herein defined by

    whatever means made. If multiple copies of a document exist, each copy must be identified,

    produced, or identified as a privileged document. Also to be identified or produced are all

    documents clipped, stapled, or otherwise attached to all described or requested documents.

           B.      A "communication" shall mean every manner or means of disclosure, transfer, or

    exchange of information whether orally or face-to-face or by telephone, mail, personal delivery,

    documents, and otherwise.

           C.      The words “relate to” or “relating in any way to” shall include pertaining to,

    concerning, respecting, referring to, summarizing, digesting, embodying, reflecting, connected

    with, commenting on, responding to, disagreeing with, showing, describing, analyzing,

    representing, constituting, construing, and including in any way.

           D.      The terms "identification," "identify," or "identity," when used in reference to a

    natural person, shall mean to state the full name, the present or last known home and business

    address, home and business telephone numbers, their employer and job title and present

    whereabouts of each such person.




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            E.     The terms "identification," “identify," or "identity" when used in reference to a

    corporation or other entity or person, shall mean to state the full legal name, state of incorporation

    or organization, address of the home office, and of the principal place of business, and in the case

    of LLCs and other non-incorporated business entities, identify the majority owner(s) and the

    manager(s) of the business.

            F.     The terms "identification," "identify," or "identity," when used in reference to a

    document or file, shall mean to state its author, the manner and date or time period in which it

    originated, was developed or kept, its original location, its present location, and all persons who

    have been custodians of the document or file. Such identification should be made with a sufficient

    level of particularity to enable you to respond to a request to produce same.

            G.     The words "person" or "persons" shall mean all natural persons ("individual" or

    "individuals"), and all types of entities and organizational groups, including without limitation:

    corporations, companies, partnerships, limited partnerships, limited liability companies, joint

    ventures, trusts, estates, associations, public agencies, departments, bureaus, boards, and other

    entities.

            H.     The words "and" as well as "or" shall be construed either conjunctively or

    disjunctively as necessary to bring within the scope of these interrogatories any information which

    might otherwise be construed to be outside their scope.

            I.     "Action" means the above-styled action.

            J.     “Benlida” shall mean Jiangmen Benlida Printed Circuit Co., Ltd., as well as any

    predecessor, successor, affiliate, subsidiary, partner, agent, employee, representative or other

    individual or entity acting on behalf of Jiangmen Benlida Printed Circuit Co., Ltd.




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            K.      “You” or “Your” shall mean Benlida, as well as any predecessor, successor,

    affiliate, subsidiary, partner, agent, employee, representative or other individual or entity acting

    on their behalf.

            L.      Capitalized Terms: Unless otherwise indicated, all other capitalized terms in the

    Request for Production are being used as defined in the Defendant’s Answer And Affirmative

    Defenses To Plaintiff’s Third Amended Complaint And Defendant’s Counterclaim [DE 34].

            M.      Each category of requested documents extends to all documents in the actual or

    constructive possession, custody, or control of Defendants, their agents, servants, attorneys,

    accountants, and/or any person acting or purporting to act for or on their behalf, and includes all

    documents created by or received from any source, person or entity. A document is deemed in

    your actual or constructive possession, custody or control if it is in your physical custody or if it is

    in the physical custody of any other person or entity, and you (a) own such documents in whole or

    in part, (b) have a right, by control, contract, statute or otherwise, to use, inspect, examine, or copy

    such document on any terms, (c) have an understanding, express or implied, that you may use,

    inspect, examine or copy such documents on any terms, and/or (d) have, as a practical matter, been

    able to use, inspect, examine, or copy such document when you sought to do so.

            N.      Privilege Log: If you claim that any document is not subject to production because

    of any privilege, the attorney-work product doctrine, or some other permissible exclusion from

    discovery, then for each such document, please provide the following information: (a) the nature

    of the document (e.g., letter, memorandum, etc.); (b) the date of the document; (c) the author of

    the document; (d) the names and addresses of those to whom the document was given, shown, or

    sent; (e) the number of pages of the document, and an explanation and identification of any

    attachments thereto; (f) a full explanation of the privilege or exclusion claimed and the basis of



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    that claim, including a precise description of the material contained in the document which you

    claim to be privileged or excluded and an identification of the material contained therein, if any,

    for which you do not claim a privilege or exclusion from discovery; and (g) the paragraph of this

    Request to which the document relates.

            O.       If any of the requests is claimed to be objectionable, then (1) the portion of such

    document production request claimed to be objectionable shall be identified, and the nature and

    basis of the objection shall be stated in sufficient fashion to permit the Court to rule on the validity

    of the objection; (2) any document withheld from production pursuant to such objection shall be

    identified with sufficient particularity and in sufficient detail to permit the Court to determine that

    such document falls within the scope of such objection; and (3) documents shall be produced in

    response to any portion of such document production request that is not claimed to be

    objectionable.

            P.       If any responsive document was in Your possession, custody or control, but is now

    in the possession, custody or control of any other person or entity to which You have no affiliation,

    or has been disposed of, lost, discarded, or destroyed, please identify each such document,

    specifying its author, addressee, date, subject matter, and all persons to whom copies were

    furnished, describe the contents of the document, stating when the document was in your

    possession or control; and state its current location or the date of disposition and the person

    responsible therefor, and the reason for the loss, destruction or discarding.

            Q.       Time: Unless otherwise specified, these Requests seek Documents from January

    1, 2016, to the present.




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           R.      Any documents that are produced should be organized and labelled to correspond

    to the categories in this request, and should be produced as they are kept in the ordinary course of

    business or in bates stamped, searchable, PDF files organized chronologically.

                                              II.
                                   REQUESTS FOR DOCUMENTS


           1.      All documents or other evidence that Benlida may use to support its claims or

    defenses.

           2.      All documents or communications where Benlida communicated to CTX that the

    invoices identified in the Third Amended Complaint [DE 26] (“TAC”) were not paid.

           3.      All documents or communications with China Export & Credit Insurance

    Corporation (“Sinosure”) about CTX or the invoices identified in the TAC.

           4.      All documents supporting the allegation found in paragraph 433 of the TAC, that

    “on December 13th and 14th of 2016, the parties agreed to price increases of 4% and 5% with

    respect to the foregoing invoices, based upon certain specifications.”

           5.      All documents supporting the allegation found in paragraph 434 of the TAC, that

    “The agreement was memorialized in meeting minutes, mutually consented to by the parties.”

           6.      All documents supporting the allegation found in paragraph 435 of the TAC, that

    “Such consent was memorialized on October 20, 2017.”

           7.      All documents supporting the allegation found in paragraph 436 of the TAC, that

    “Pursuant to the agreement, as to which there was due consideration, there is an additional

    $2,115,927.57 owed.”

           8.      All documents supporting the allegation found in paragraph 444 of the TAC, that

    “Defendant Circuitronix alleged that plaintiffs owed it a total of $6,561,044.21, citing an extra-



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    contractual and unconsented-to lead-time penalty and citing an Excel spreadsheet of purported

    itemizations, in an attempt to circumvent payments due to plaintiffs, thereby demonstrating a lack

    of good faith and fair dealing on the part of Circuitronix.”

           9.      Documents, including bank records, sufficient to show all payments received by

    either Benlida or ROK, from CTX.

           10.     All documents or communications with CTX where Benlida communicated that a

    wire transfer or other payment identified by CTX had not been received by Benlida or ROK.

           11.     All documents showing how Benlida allocated payments from CTX to specific

    invoices.

           12.     All documents and communications with CTX where Benlida disputed a payment

    detail or reconciliation statement, including invoice and payment allocation, provided by CTX (for

    example, DE 15-4).

           13.     All documents and communications with any third-parties concerning debts

    allegedly owed by CTX to Benlida, or debts owed by Benlida or ROK to CTX or CTX-HK.

           14.     All documents and communications, including but not limited to internal company

    emails or memos, regarding debts allegedly owed by CTX to Benlida, or debts owed by Benlida

    or ROK to CTX or CTX-HK.

           15.     All documents and communications, including but not limited to internal company

    emails or memos, regarding CTX’s purported failure to pay Benlida or ROK in full.

           16.     All documents and communications, including but not limited to internal company

    emails or memos, regarding payments received from CTX.

           17.     All documents or communications with CTX where Benlida requested a price

    increase, prepayment, advance payment, or a payment premium.



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           18.    All documents and communications with other Printed Circuit Board suppliers and

    manufacturers in China about CTX.

           19.    All documents and communications, including but not limited to internal company

    emails or memos, regarding lead-time penalties owed by Benlida or ROK.

           20.    Documents sufficient to show the corporate structure and ownership of Benlida and

    ROK, and the relationship between Benlida and ROK.

           21.    Copies of any contracts or insurance agreements with Sinosure that provide credit

    insurance related to Benlida’s business with CTX.



    Dated: November 19, 2021                            Respectfully submitted


                                                        CHAUNCEY COLE, PA
                                                        Counsel for Circuitronix, LLC
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                                                        By: /s/ Chauncey D. Cole IV
                                                        Chauncey D. Cole, IV, Esq.
                                                        Florida Bar No. 102184
                                                        chauncey.cole@coletrial.com

                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true copy of the foregoing has been served via electronic
    mail on a registered CM/ECF user on November 19, 2021.

                                                By: /s/ Chauncey D. Cole IV___
                                                        Chauncey D. Cole IV




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